Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 1 of 22




                                                     Exhibit A - Page 1
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 2 of 22




                                                     Exhibit A - Page 2
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 3 of 22




                                                     Exhibit A - Page 3
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 4 of 22




                                                     Exhibit A - Page 4
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 5 of 22




                                                     Exhibit A - Page 5
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 6 of 22




                                                     Exhibit A - Page 6
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 7 of 22




                                                     Exhibit A - Page 7
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 8 of 22




                                                     Exhibit A - Page 8
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 9 of 22




                                                     Exhibit A - Page 9
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 10 of 22




                                                    Exhibit A - Page 10
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 11 of 22




                                                    Exhibit A - Page 11
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 12 of 22




                                                    Exhibit A - Page 12
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 13 of 22




                                                    Exhibit A - Page 13
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 14 of 22




                                                    Exhibit A - Page 14
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 15 of 22




                                                    Exhibit A - Page 15
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 16 of 22




                                                    Exhibit A - Page 16
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 17 of 22




                                                    Exhibit A - Page 17
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 18 of 22




                                                    Exhibit A - Page 18
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 19 of 22




                                                    Exhibit A - Page 19
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 20 of 22




                                                    Exhibit A - Page 20
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 21 of 22




                                                    Exhibit A - Page 21
Case 1:19-cv-02912-JDB Document 1-2 Filed 09/27/19 Page 22 of 22




                                                    Exhibit A - Page 22
